      Case 2:19-cv-00968-BSJ Document 21 Filed 02/26/20 PageID.60 Page 1 of 3
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                                                                            U.S. DISTRICT COURT




Order Prepared By:
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Attorney for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT,
                       IN AND FOR THE CENTRAL DISTRICT OF UTAH

LINDA SUDA,                                          ORDER GRANTING STIPULATED
                                                       MOTION TO DISMISS WITH
                  Plaintiff,                                 PREJUDICE
vs.

KNIGHT FAMILY REAL ESTATE LLC, a                         Case No. 2:19-CV-968-BSJ
Utah limited liability company, John Does I
- X, XYZ Corporations and/or Limited                        Paul Bruce S. Jenkins
Liability Companies I - X.

                  Defendants.




        This matter is before the Court pursuant to the Stipulated Motion to Dismiss with

Prejudice (the "Motion") filed by the parties on February 25, 2020. Having reviewed the Motion,

there appears good cause that it should be GRANTED.

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this matter is dismissed,

with prejudice.




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                 i fl
  DATED the ~ (p day of February, 2020.

                                    BY THE COURT




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                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 25 th day of February, 2020, I caused a true and

correct copy of the foregoing ORDER GRANTING STIPULATED MOTION TO DISMISS

WITH PREJUDICE to be filed with the Court via CM/ECF, which caused notice to be served

upon all e-filing counsel ofrecord via the Court's Notice of Electronic Filing [NEF].



                                                     Isl Matthew B. Crane




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